Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 1 of 27




                     EXHIBIT L
                Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 2 of 27




 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page2)

 Civil Action No. 15-cv-07433-RWS

                                                               PROOF OF SERVICE
                               (This section should not be filed with the court unless re

             I;:2e_:_e•V~-~ --~
                             _ 1J;_poena for (name ofindividual and title, ifany)
                                                                                                                                      Jane Doe 2
 on (date)         (1J;_ .
               _ ··-·   :··.                  .. . . . .
                                                                                  _.  ,.




                                                                                                                                                                    Jane Doe 2
        Jane Doe 2
             0 l returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one ofits officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
          $ .    ?Sp', ;?- _cg
My fees are$                                                                                                       for travel and$        for services, for a total of$   0.00
                               I ' ,• ._. ~   • •• ••••• • • •. , , ~ _ . .. ',,..,.,.,,,,,,' , ,. .   •>• / ' •




          I declare under penalty of perjury that this information is true.


Date:
                                                                                                                                             Sen,er's sfg11utur,,


                                                                                                                                                ~c?~ » . .' y&t/~
                                                                                                                         : ) : : , ~ ~ ) ~ ~- - -
                                                                                                                                           Printed name and title




Additional information regarding attempted service, etc.:
     Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 3 of 27




                                United States District Court
                               Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                   Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                 NOTICE OF SERVICE OF RULE 45 SUBPOENA DUCES
                        TECUM UPON
                            - - -

        PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff, Virginia Giuffre, hereby provides Notice of Service of Subpoena upon

Jane Doe 2 A copy of the Subpoena is attached to this Notice as Exhibit A.

Dated: May 16, 2016
                                        By: /s/ Sigrid McCawley
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies, Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies, Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504

                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                             (954) 524-2820
    Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 4 of 27




                                                      Paul G. Cassell (Pro Hac Vice)
                                                      S.J. Quinney College of Law
                                                      University of Utah
                                                      383 University St.
                                                      Salt Lake City, UT 84112
                                                      (801) 585-52021




1
  This daytime business address is provided for identification and correspondence purposes only and is not intended
to imply institutional endorsement by the University of Utah for this private representation.


                                                         2
                  Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 5 of 27


 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Southern District ofN ew York

                         Virginia L. Giuffre                                    )
                                Plaintiff                                       )
                                   V.                                           )      Civil Action No.     15-cv-07433-RWS
                        Ghislaine Maxwell                                       )
                                                                               )
                              Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:
                                                   Jane Doe 2
                                                        (Name ofperson to whom this subpoena is directed)

      ~ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:



  Place:                                                                                Date and Time:
            401 E. Las Olas Blvd., Suite 1200                                                             06/04/2016 9:00 am
            Ft. Lauderdale, FL 33301

            The deposition will be recorded by this method:                   Videography and Stenography

         ,I Production: You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: Please see attached Schedule A.




         The following provisions of Fed. R. Civ . P. 45 are attached-Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        05/13/2016
                                   CLERK OF COURT
                                                                                          OR

                                            Signature of Clerk or Deputy Clerk

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) . Virginia Giuffre
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ , who issues or requests this subpoena, are:
Sigrid Mccawley, Esq . of Boies, Schiller & Flexner LLP, 401 E. Las Olas Blvd ., Suite 1200, Ft. Lauderdale , FL 33301 ,
Tel : (954) 356 0011 ; smccawley@bsfllp.com
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                 Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 6 of 27


AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 15-cv-07433-RWS

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                      for travel and $                       for services, for a total of$    0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature


                                                                                          Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc. :
                  Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 7 of 27


 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                               (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                   (ii) disclosing an unretained expert's opinion or information that does
 person to attend a trial, hearing, or deposition only as follows:                not describe specific occurrences in dispute and results from the expert's
    (A) within 100 miles of where the person resides, is employed, or             study that was not requested by a party.
 regularly transacts business in person; or                                          (C) Specifying Conditions as an Alternative. In the circumstances
    (B) within the state where the person resides, is employed, or regularly      described in Rule 45(d)(3)(B), the court may, instead of quashing or
 transacts business in person, if the person                                      modifying a subpoena, order appearance or production under specified
       (i) is a party or a party's officer; or                                    conditions if the serving party:
       (ii) is commanded to attend a trial and would not incur substantial             (i) shows a substantial need for the testimony or material that cannot be
 expcns.;.                                                                        otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within IOO miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electro11ically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  in formation:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              lf a subpoena does not specify~ form.. .for producing electronically storerl
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable form or forms .
lost earnings and reasonable attorney's fees-on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                             (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documt:nts, electronically stored information, or tangihle things, or to          from sources that the person identifies as not reasonably accessible because
p~rmit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises--or to
producing electronically stored information in the form or forms requested .       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
      (i) Al any time, on notice to the commanded person, the serving party            (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the      privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from       (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Q11"shi11g or Modifying II Subpoena.                                         that received the information of the claim and the basis for it. After being
                                                                                  notified , a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion , the court for the district where          information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                     (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on        motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                             who, having been served, fails without adequate excuse to obey the
                                                                                 subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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       Jane Doe 2
                                            EXHIBIT A

                                          DEFINITIONS

        Wherever they hereafter appear the following words and phrases have the following

meanings:

        1.      "Agent" shall mean any agent, employee, officer, director, attorney, independent

contractor or any other person acting, or purporting to act, at the discretion of or on behalf of

another.

        2.     "Correspondence" or "communication" shall mean all written or verbal

communications, by any and all methods, including without limitation, letters, memoranda,

and/or electronic mail, by which information, in whatever form, is stored, transmitted or

received; and, includes every manner or means of disclosure, transfer or exchange, and every

disclosure, transfer or exchange of information whether orally or by document or otherwise,

face-to-face, by telephone, telecopies, e-mail, text, modern transmission, computer generated

message, mail, personal delivery or otherwise.

        3.      "Document" shall mean all written and graphic matter, however produced or

reproduced, and each and every thing from which information can be processed, transcribed,

transmitted, restored, recorded, or memorialized in any way, by any means, regardless of

technology or form. It includes, without limitation, correspondence, memoranda, notes,

notations, diaries, papers, books, accounts, newspaper and magazine articles, advertisements,

photographs, videos, notebooks, ledgers, letters, telegrams, cables, telex messages, facsimiles,

contracts, offers, agreements, reports, objects, tangible things, work papers, transcripts, minutes,

reports and recordings of telephone or other conversations or communications, or of interviews



                                                  1
        Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 9 of 27



or conferences, or of other meetings, occurrences or transactions, affidavits, statements,

summaries, opinions, tests, experiments, analysis, evaluations, journals, balance sheets, income

statements, statistical records, desk calendars, appointment books, lists, tabulations, sound

recordings, data processing input or output, microfilms, checks, statements, receipts, summaries,

computer printouts, computer programs, text messages, e-mails, information kept in computer

hard drives, other computer drives of any kind, computer tape back-up, CD-ROM, other

computer disks of any kind, teletypes, telecopies, invoices, worksheets, printed matter of every

kind and description, graphic and oral records and representations of any kind, and electronic

"writings" and "recordings" as set forth in the Federal Rules of Evidence, including but not

limited to, originals or copies where originals are not available. Any document with any marks

such as initials, comments or notations of any kind of not deemed to be identical with one

without such marks and is produced as a separate document. Where there is any question about

whether a tangible item otherwise described in these requests falls within the definition of

"document" such tangible item shall be produced.

       4.      "Employee" includes a past or present officer, director, agent or servant, including

any attorney (associate or partner) or paralegal.

       5.      "Including" means including without limitations.

       6.      "Jeffrey Epstein" includes Jeffrey Epstein and any entities owned or controlled by

Jeffrey Epstein, any employee, agent, attorney, consultant, or representative of Jeffrey Epstein.

       7.       "You" or "Your" hereinafter means David Rodgers (a/k/a Dave Rodgers) and any

employee, agent, attorney, consultant, related entities or other representative of David Rodgers

(a/k/a Dave Rodgers).




                                                    2
       Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 10 of 27



                                         INSTRUCTIONS

        1.      Production of documents and items requested herein shall be made at the offices

of Boies Schiller & Flexner, LLP, 401 East Las Olas Blvd., Suite 1200, Ft. Lauderdale, FL,

33301, no later than five (5) days before the date noticed for your deposition, or, if an alternate

date is agreed upon, no later than five (5) days before the agreed-upon date.

        2.     Unless indicated otherwise, the Relevant Period for this Request is from 1996 to

the present. A Document should be considered to be within the relevant time frame if it refers or

relates to communications, meetings or other events or documents that occurred or were created

within that time frame, regardless of the date of creation of the responsive Document.

       3.      This Request calls for the production of all responsive Documents in your

possession, custody or control without regard to the physical location of such documents.

       4.      If any Document requested was in your possession or control, but is no longer in

its possession or control, state what disposition was made of said Document, the reason for such

disposition, and the date of such disposition.

       5.      For the purposes of reading, interpreting, or construing the scope of these

requests, the terms used shall be given their most expansive and inclusive interpretation. This

includes, without limitation the following:

               a)      Wherever appropriate herein, the singular form of a word shall be
                       interpreted as plural and vice versa.

               b)      "And" as well as "or" shall be construed either disjunctively or
                       conjunctively as necessary to bring within the scope hereof any
                       information (as defined herein) which might otherwise be construed to be
                       outside the scope of this discovery request.

               c)      "Any" shall be understood to include and encompass "all" and vice versa.

               d)      Wherever appropriate herein, the masculine form of a word shall be
                       interpreted as feminine and vice versa.



                                                 3
         Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 11 of 27



                e)      "Including" shall mean "including without limitation."

         6.    If you are unable to answer or respond fully to any document request, answer or

respond to the extent possible and specify the reasons for your inability to answer or respond in

full. If the recipient has no documents responsive to a particular Request, the recipient shall so

state.

         7.    Unless instructed otherwise, each Request shall be construed independently and

not by reference to any other Request for the purpose of limitation.

         8.    The words "relate," "relating," "relates," or any other derivative thereof, as used

herein includes concerning, referring to, responding to, relating to, pertaining to, connected with,

comprising, memorializing, evidencing, commenting on, regarding, discussing, showing,

describing, reflecting, analyzing or constituting.

         9.    "Identify" means, with respect to any "person," or any reference to the "identity"

of any "person," to provide the name, home address, telephone number, business name, business

address, business telephone number and a description of each such person's connection with the

events in question.

         10.   "Identify" means, with respect to any "document," or any reference to stating the

"identification" of any "document," provide the title and date of each such document, the name

and address of the party or parties responsible for the preparation of each such document, the

name and address of the party who requested or required the preparation and on whose behalf it

was prepared, the name and address of the recipient or recipients to each such document and the

present location of any and all copies of each such document, and the names and addresses of all

persons who have custody or control of each such document or copies thereof.




                                                 4
       Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 12 of 27



        J 1.   In producing Documents, if the original of any Document cannot be located, a

copy shall be produced in lieu thereof, and shall be legible and bound or stapled in the same

manner as the original.

        12.    Any copy of a Document that is not identical shall be considered a separate

document.

        13.    If any requested Document cannot be produced in full, produce the Document to

the extent possible, specifying each reason for your inability to produce the remainder of the

Document stating whatever information, knowledge or belief which you have concerning the

portion not produced.

       14.     If any Document requested was at any one time in existence but are no longer in

existence, then so state, specifying for each Document (a) the type of document; (b) the types of

information contained thereon; (c) the date upon which it ceased to exist; (d) the circumstances

under which it ceased to exist; (e) the identity of all person having knowledge of the

circumstances under which it ceased to exist; and (f) the identity of all persons having

knowledge or who had knowledge of the contents thereof and each individual's address.

       15.     All Documents shall be produced in the same order as they are kept or maintained

by you in the ordinary course of business.

       16.     You are requested to produce all drafts and notes, whether typed, handwritten or

otherwise, made or prepared in connection with the requested Documents, whether or not used.

       17.     Documents attached to each other shall not be separated.

       18.     Documents shall be produced in such fashion as to identify the department,

branch or office in whose possession they were located and, where applicable, the natural person

in whose possession they were found, and business address of each Document's custodian(s).




                                                 5
       Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 13 of 27



        19.     If any Document responsive to the request is withheld, in all or part, based upon

any claim of privilege or protection, whether based on statute or otherwise, state separately for

each Document, in addition to any other information requested: (a) the specific request which

calls for the production; (b) the nature of the privilege claimed; (c) its date; (d) the name and

address of each author; (e) the name and address of each of the addresses and/or individual to

whom the Document was distributed, if any; (f) the title (or position) of its author; (g) type of

tangible object, e.g., letter, memorandum, telegram, chart, report, recording, disk, etc.; (h) its title

and subject matter (without revealing the information as to which the privilege is claimed); (i)

with sufficient specificity to permit the Court to make full determination as to whether the claim

of privilege is valid, each and every fact or basis on which you claim such privilege; and G)

whether the document contained an attachment and to the extent you are claiming a privilege as

to the attachment, a separate log entry addressing that privilege claim.

        20.     If any Document requested herein is withheld, in all or part, based on a claim that

such Document constitutes attorney work product, provide all of the information described in

Instruction No. 19 and also identify the litigation in connection with which the Document and the

information it contains was obtained and/or prepared.

       21.     Plaintiff does not seek and does not require the production of multiple copies of

identical Documents.

       22.     This Request is deemed to be continuing. If, after producing these Documents,

you obtain or become aware of any further information, Documents, things, or information

responsive to this Request, you are required to so state by supplementing your responses and

producing such additional Documents to Plaintiff.




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      Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 14 of 27




            DOCUMENTS TO BE PRODUCED PURSUANT TO THIS SUBPOENA


       1.      All documents related to Jeffrey Epstein.

      2.       All documents relating to Ghislaine Maxwell.

      3.       All documents related to Sarah Ke11en, a/k/a Sarah Vickers, a/k/a Sara

Kensington.

      4.       All documents related to Nadia Marcinkova, a/k/a Nadia Marcinko.




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                                United States District Court
                               Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                   Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                 NOTICE OF SERVICE OF RULE 45 SUBPOENA DUCES
                          TECUM UPON JOE RECAREY


       PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff, Virginia Giuffre, hereby provides Notice of Service of Subpoena upon Joe

Recarey. A copy of the Subpoena is attached to this Notice as Exhibit A.

Dated: May 17, 2016
                                        By: /s/ Sigrid McCawley
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies, Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies, Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504

                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                             (954) 524-2820
    Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 16 of 27




                                                      Paul G. Cassell (Pro Hac Vice)
                                                      S.J. Quinney College of Law
                                                      University of Utah
                                                      383 University St.
                                                      Salt Lake City, UT 84112
                                                      (801) 585-52021




1
  This daytime business address is provided for identification and correspondence purposes only and is not intended
to imply institutional endorsement by the University of Utah for this private representation.


                                                         2
                 Case 1:15-cv-07433-LAP Document 1320-32 Filed 01/03/24 Page 17 of 27


 AO SSA (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Southern District of New York

                         Virginia L. Giuffre                                   )
                                Plaintiff                                      )
                                   V.                                          )       Civil Action No.     15-cv-07433-RWS
                        Ghislaine Maxwell                                      )
                                                                               )
                               Defendant                                       )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                         Joe Recarey

                                                        (Name ofperson to whom this subpoena is directed)

      g{ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:



  Place:                                                                                Date and Time:
            401 E. Las Olas Blvd., Suite 1200                                                             06/21/2016 9:00 am
            Ft. Lauderdale, FL 33301

            The deposition will be recorded by this method:                   Videography and Stenography

         r/ Production: You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: Please see attached Schedule A.




         The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        05/13/2016
                                   CLERK.OF COURT
                                                                                          OR

                                            Signature of Clerk or Deputy Clerk

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)        Virginia Giuffre
                                                                      __ , who issues or requests this subpoena, are:
Sigrid Mccawley, Esq. of Boies, Schiller & Flexner LLP, 401 E. Las Olas Blvd., Suite 1200, Ft. Lauderdale, FL 33301,
Tel: (954) 356 0011; smccawley@bsfllf).com
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 15-cv-07433-RWS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            Treceived this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, l have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                      for travel and $                       for services, for a total of$    0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature


                                                                                          Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc.:
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 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert's opinion or information that does
 person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert's
    (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
 regularly transacts business in person ; or                                          (C) Specifying Conditions as an Alternative. ln the circumstances
    (R) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
 transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
       (i) is a party or a party's officer; or                                     conditions if the serving party:
       (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
 expense.                                                                          otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within I 00 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
  (1) Avoiding Undue Burden or E:,.pense; Sanctions. A party or attorney          must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does net specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees-on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
  (2) Command to Produce Materials or Permit Inspection.                             (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. lfthat showing is
   (B) Objections. A person commanded to prod11ce documents or tangible           made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
      (i) At any time, on notice to the commanded person, the serving party            (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the      privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party 's officer from      (B) Information Produced If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the cl aim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved .
exception or waiver applies ; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.



I                                       For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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        To: Joe Recarey

                                            EXHIBIT A

                                          DEFINITIONS

        Wherever they hereafter appear the following words and phrases have the following

meanmgs:

        1.      "Agent" shall mean any agent, employee, officer, director, attorney, independent

contractor or any other person acting, or purporting to act, at the discretion of or on behalf of

another.

        2.      "Correspondence" or "communication" shall mean all written or verbal

communications, by any and all methods, including without limitation, letters, memoranda,

and/or electronic mail, by which information, in whatever form, is stored, transmitted or

received; and, includes every manner or means of disclosure, transfer or exchange, and every

disclosure, transfer or exchange of information whether orally or by document or otherwise,

face-to-face, by telephone, telecopies, e-mail, text, modem transmission, computer generated

message, mail, personal delivery or otherwise.

        3.      "Document" shall mean all written and graphic matter, however produced or

reproduced, and each and every thing from which information can be processed, transcribed,

transmitted, restored, recorded, or memorialized in any way, by any means, regardless of

technology or form. It includes, without limitation, correspondence, memoranda, notes,

notations, diaries, papers, books, accounts, newspaper and magazine articles, advertisements,

photographs, videos, notebooks, ledgers, letters, telegrams, cables, telex messages, facsimiles,

contracts, offers, agreements, reports, objects, tangible things, work papers, transcripts, minutes,

reports and recordings of telephone or other conversations or communications, or of interviews



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or conferences, or of other meetings, occurrences or transactions, affidavits, statements,

summaries, opinions, tests, experiments, analysis, evaluations, journals, balance sheets, income

statements, statistical records, desk calendars, appointment books, lists, tabulations, sound

recordings, data processing input or output, microfilms, checks, statements, receipts, summaries,

computer printouts, computer programs, text messages, e-mails, information kept in computer

hard drives, other computer drives of any kind, computer tape back-up, CD-ROM, other

computer disks of any kind, teletypes, telecopies, invoices, worksheets, printed matter of every

kind and description, graphic and oral records and representations of any kind, and electronic

"writings" and "recordings" as set forth in the Federal Rules of Evidence, including but not

limited to, originals or copies where originals are not available. Any document with any marks

such as initials, comments or notations of any kind of not deemed to be identical with one

without such marks and is produced as a separate document. Where there is any question about

whether a tangible item otherwise described in these requests falls within the definition of

"document" such tangible item shall be produced.

       4.      "Employee" includes a past or present officer, director, agent or servant, including

any attorney (associate or partner) or paralegal.

       5.      "Including" means including without limitations.

       6.      "Jeffrey Epstein" includes Jeffrey Epstein and any entities owned or controlled by

Jeffrey Epstein, any employee, agent, attorney, consultant, or representative of Jeffrey Epstein.

       7.       "You" or "Your" hereinafter means David Rodgers (a/k/a Dave Rodgers) and any

employee, agent, attorney, consultant, related entities or other representative of David Rodgers

(a/k/a Dave Rodgers).




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                                         INSTRUCTIONS

        1.      Production of documents and items requested herein shall be made at the offices

of Boies Schiller & Flexner, LLP, 401 East Las Olas Blvd., Suite 1200, Ft. Lauderdale, FL,

33301, no later than five (5) days before the date noticed for your deposition, or, if an alternate

date is agreed upon, no later than five (5) days before the agreed-upon date.

        2.     Unless indicated otherwise, the Relevant Period for this Request is from 1996 to

the present. A Document should be considered to be within the relevant time frame if it refers or

relates to communications, meetings or other events or documents that occurred or were created

within that time frame, regardless of the date of creation of the responsive Document.

       3.      This Request calls for the production of all responsive Documents in your

possession, custody or control without regard to the physical location of such documents.

       4.      If any Document requested was in your possession or control, but is no longer in

its possession or control, state what disposition was made of said Document, the reason for such

disposition, and the date of such disposition.

       5.      For the purposes ofreading, interpreting, or construing the scope of these

requests, the terms used shall be given their most expansive and inclusive interpretation. This

includes, without limitation the following:

               a)      Wherever appropriate herein, the singular form of a word shall be
                       interpreted as plural and vice versa.

               b)      "And" as well as "or" shall be construed either disjunctively or
                       conjunctively as necessary to bring within the scope hereof any
                       information (as defined herein) which might otherwise be construed to be
                       outside the scope of this discovery request.

               c)      "Any" shall be understood to include and encompass "all" and vice versa.

               d)      Wherever appropriate herein, the masculine form of a word shall be
                       interpreted as feminine and vice versa.



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               e)      "Including" shall mean "including without limitation."

         6.    If you are unable to answer or respond fully to any document request, answer or

respond to the extent possible and specify the reasons for your inability to answer or respond in

full. If the recipient has no documents responsive to a particular Request, the recipient shall so

state.

         7.    Unless instructed otherwise, each Request shall be construed independently and

not by reference to any other Request for the purpose of limitation.

         8.    The words "relate," "relating," "relates," or any other derivative thereof, as used

herein includes concerning, referring to, responding to, relating to, pertaining to, connected with,

comprising, memorializing, evidencing, commenting on, regarding, discussing, showing,

describing, reflecting, analyzing or constituting.

         9.    "Identify" means, with respect to any "person," or any reference to the "identity"

of any "person," to provide the name, home address, telephone number, business name, business

address, business telephone number and a description of each such person's c01mection with the

events in question.

         10.   "Identify" means, with respect to any "document," or any reference to stating the

"identification" of any "document," provide the title and date of each such document, the name

and address of the party or parties responsible for the preparation of each such document, the

name and address of the party who requested or required the preparation and on whose behalf it

was prepared, the name and address of the recipient or recipients to each such document and the

present location of any and all copies of each such document, and the names and addresses of all

persons who have custody or control of each such document or copies thereof.




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        11 .   In producing Documents, if the original of any Document cannot be located, a

copy shall be produced in lieu thereof, and shall be legible and bound or stapled in the same

manner as the original.

        12.    Any copy of a Document that is not identical shall be considered a separate

document.

        13.    If any requested Document cannot be produced in full, produce the Document to

the extent possible, specifying each reason for your inability to produce the remainder of the

Document stating whatever information, knowledge or belief which you have concerning the

portion not produced.

        14.    If any Document requested was at any one time in existence but are no longer in

existence, then so state, specifying for each Document (a) the type of document; (b) the types of

information contained thereon; (c) the date upon which it ceased to exist; (d) the circumstances

under which it ceased to exist; (e) the identity of all person having knowledge of the

circumstances under which it ceased to exist; and (f) the identity of all persons having

knowledge or who had knowledge of the contents thereof and each individual's address.

       15.     All Documents shall be produced in the same order as they are kept or maintained

by you in the ordinary course of business.

       16.     You are requested to produce all drafts and notes, whether typed, handwritten or

otherwise, made or prepared in connection with the requested Documents, whether or not used.

       17.     Documents attached to each other shall not be separated.

       18.     Documents shall be produced in such fashion as to identify the department,

branch or office in whose possession they were located and, where applicable, the natural person

in whose possession they were found, and business address of each Document's custodian(s).




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        19.     If any Document responsive to the request is withheld, in all or part, based upon

any claim of privilege or protection, whether based on statute or otherwise, state separately for

each Document, in addition to any other information requested: (a) the specific request which

calls for the production; (b) the nature of the privilege claimed; (c) its date; (d) the name and

address of each author; (e) the name and address of each of the addresses and/or individual to

whom the Document was distributed, if any; (f) the title (or position) of its author; (g) type of

tangible object, e.g., letter, memorandum, telegram, chart, report, recording, disk, etc.; (h) its title

and subject matter (without revealing the information as to which the privilege is claimed); (i)

with suflicient specificity to permit the Court to make full determination as to whether the claim

of privilege is valid, each and every fact or basis on which you claim such privilege; and G)

whether the document contained an attachment and to the extent you are claiming a privilege as

to the attachment, a separate log entry addressing that privilege claim.

       20.      If any Document requested herein is withheld, in all or part, based on a claim that

such Document constitutes attorney work product, provide all of the information described in

Instruction No. 19 and also identify the litigation in connection with which the Document and the

information it contains was obtained and/or prepared.

       21.      Plaintiff does not seek and does not require the production of multiple copies of

identical Documents.

       22.     This Request is deemed to be continuing. If, after producing these Documents,

you obtain or become aware of any further information, Documents, things, or information

responsive to this Request, you are required to so state by supplementing your responses and

producing such additional Documents to Plaintiff.




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             DOCUMENTS TO BE PRODUCED PURSUANT TO THIS SUBPOENA


        1.      All documents related to Jeffrey Epstein.

        2.      All documents relating to any investigation of Jeffrey Epstein.

        3.      All documents relating to Ghislaine Maxwell.

        4.      All documents relating to any investigation of Ghislaine Maxwell.

        5.      All documents related to Sarah Kellen, a/k/a Sarah Vickers, a/k/a Sara

Kensington.

        6.      All documents related to any investigation of Sarah Kellen, a/k/a Sarah Vickers,

a/k/a Sara Kensington.

        7.      All documents related to any victims or alleged victims of Jeffrey Epstein,

Ghislaine Maxwell, or Sarah Kellen, a/k/a Sarah Vickers, a/k/a Sara Kensington.

        8.      All communications regarding Jeffrey Epstein, Ghislaine Maxwell, Sarah Kellen,

a/k/a Sarah Vickers, a/k/a Sara Kensington.

       9.       All documents or communications regarding any investigator, police officer,

prosecutor, or other government employee that had any involvement in the investigation, arrest,

or prosecution of Jeffrey Epstein, including, but not limited to, Barry Kirshner.

        10.     All documents or communications regarding any agent of Jeffrey Epstein,

Ghislaine Maxwell, Sarah Kellen, a/k/a Sarah Vickers, a/k/a Sara Kensington, including, but not

limited to, private investigators and attorneys.

       11.      Any documents or communications regarding any persons or entities who may

have conducted any type of surveillance on you.




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         B O     IE S .         SCH I L L E R                   &     F L E X N ER                   LL P
401 EAST LAS OLAS BOULEVARD • SUITE 1200• FORT LAUDERDALE. FL 33301-2211 • PH 954.356.0011 • FAX 954.356.0022



                                                                                     Sigrid S. Mccawley, Esq.
                                                                               E-mail: smccawley@bst1lp.com

                                                   June 17. 2016

          VIA E-MAIL

          Laura A. Menninger, Esq.
          HADDON, MORGAN AND FOREMAN, P.C.
          150 East 10th Avenue
          Denver, Colorado 80203
          lmenninger@hmflaw.com

                 Re:    Giuffre v. Maxwell
                        Case No. 15-cv-07433-RWS

          Dear Ms. Menninger:

                 On behalf of the Plaintiff, Virginia Giuffre, documents, Bates-stamped GIUFFRE005614
         through GIUFFRE006279, are being produced pursuant to Defendant's Request for Production.
         All of the documents within this production have been designated as CONFIDENTIAL in
         accordance with the Protective Order. Please treat these documents accordingly.

                  This production consists of the March 19, 2010 deposition of Detective Joseph Recarey
         v,rith exhibits, and an unredacted version of the Police Incident Report that was used in redacted
         form as Exhibit 2 in that deposition.

                If you have any questions concerning the foregoing, or if there are any issues with the
         media, please do not hesitate to contact me at (954) 356-0011.


                                                              Sincerely,




         SSM:dk
         Enclosures




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